 

Case 1:19-Gy-09193-GED-GN Dacuments?s Filed N9Ab20 Pagel ofl

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

RYANN SOLOMON,
Plaintiff,
v.

ANDREW M. SAUL,
Commissioner of Social Security,

Defendant.

 

 

 

STIPULATION AND ORDER

No. 20 Civ. 9198 (GBD) (SN)

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IT IS HEREBY STIPULATED AND AGREED, by and between the attorneys for

plaintiff and defendant, that the decision of the Commissioner of Social Security be, and hereby

is, reversed and that this action be, and hereby is, remanded to the Commissioner of Social

Security, pursuant to sentence four of 42 U.S.C. § 405(g), for further administrative proceedings.

The Clerk is directed to enter judgment. See Shalala v. Schaefer, 509 U.S, 292 (1993).

Dated: September 15, 2020

THE LEGAL AID SOCIETY
Bronx, New York

 

 

Attorney for Plaintiff
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By: Ce FAA WEreeS
VIOLETA ARCINIEGA

The Legal Aid Society
260 East 161st Street
Bronx, NY 10451

Tel: (718) 579-8157
varciniega@legal-aid.org

SO ORDERED:
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Dated: September 15, 2020

AUDREY STRAUSS

Acting United States Attorney for the
Southern District of New York
Attorney for Defendant

By: Mawr h Cif ror"
MARY BLLEN BRENNAN
Assistant United States Attorney
86 Chambers Street, 3rd Floor
New York, NY 10007
Tel: (212) 637-2652
maryellen.brennan@usdoj.gov

 

 
